Case 4:19-cv-13449-SDD-EAS ECF No. 37, PageID.2132 Filed 06/21/21 Page 1 of 9




                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 ROBERT AMBROSE, SCOTT
 BARNES, RICHARD CHAPMAN,
 RYAN CIRIGNANO, CHRIS
 FAUSSETT, MILAN GRUJIC, DAVID
 KELLER, JOHN KOBEL, DANIEL
 LAWSON, STEPHEN LUTSK, LORI            Case No.: 4:19-cv-13449
 MAGALLANES, NOAM MEIER,
 ERIC OSTRANDER, ROBERT                 Hon. Stephanie Dawkins Davis
 OVERTURF, and MIKE WORONKO,
 on behalf of themselves and all others
 similarly situated,

             Plaintiffs,

       v.

 GENERAL MOTORS LLC,

             Defendant.



       PLAINTIFFS’ MOTION FOR LEAVE TO FILE NOTICE OF
                  SUPPLEMENTAL AUTHORITY

      1.    Counsel for Plaintiffs in the above-referenced matter write to inform

the Court of a recent ruling in the Eastern District of Michigan regarding General

Motors LLC’s (“GM’s”) motion to dismiss in Bossart, et. al. v. General Motors LLC,

No. 2:20-cv-11057-BAF-DRG (E.D. Mich.), which involves multistate allegations

regarding defective wheels (the “Wheel Defect”).


                                        1
Case 4:19-cv-13449-SDD-EAS ECF No. 37, PageID.2133 Filed 06/21/21 Page 2 of 9




      2.     Because the Bossart opinion implicates some of the same issues at issue

in this litigation, Plaintiffs wish to file the attached Notice of Supplemental

Authority for the purpose of bringing this case to this Honorable Court’s attention

(attached hereto at Exhibit 1).

      3.     Pursuant to Local Rule 7.1, the undersigned counsel certifies that

Plaintiffs’ counsel communicated with Defendant’s counsel on June 21, 2021

regarding the nature of this Motion and Defendant’s counsel stated that GM does not

oppose the filing of this Motion.

      WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff’s

Motion for Leave to File the attached Notice of Supplemental Authority.


Dated: June 21, 2021                  Respectfully submitted,


                                      /s/ E. Powell Miller_____
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                                      Sharon S. Almonrode (P33938)
                                      Dennis A. Lienhardt (P81118)
                                      William Kalas (P82113)
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                                      Nicholas A. Migliaccio
                                      (E.D. Michigan Bar No. 29077)

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Case 4:19-cv-13449-SDD-EAS ECF No. 37, PageID.2134 Filed 06/21/21 Page 3 of 9




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                                     Attorneys for Plaintiffs and the Putative
                                     Class




                                     3
Case 4:19-cv-13449-SDD-EAS ECF No. 37, PageID.2135 Filed 06/21/21 Page 4 of 9




                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN



 ROBERT AMBROSE, SCOTT
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 MAGALLANES, NOAM MEIER,
 ERIC OSTRANDER, ROBERT                 Hon. Stephanie Dawkins Davis
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 on behalf of themselves and all others
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            Plaintiffs,

       v.

 GENERAL MOTORS LLC,

            Defendant.



 BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE TO FILE
            NOTICE OF SUPPLEMENTAL AUTHORITY




                                      i
Case 4:19-cv-13449-SDD-EAS ECF No. 37, PageID.2136 Filed 06/21/21 Page 5 of 9




                   STATEMENT OF ISSUE PRESENTED
      1.    Whether Plaintiff should be granted leave to file a Second Notice of

Supplemental Authority?

      Plaintiff’s Answer: Yes.




                                        ii
Case 4:19-cv-13449-SDD-EAS ECF No. 37, PageID.2137 Filed 06/21/21 Page 6 of 9




                   MOST APPROPRIATE AUTHORITY

E.D. Michigan Local Rule 7.1




                                     iii
Case 4:19-cv-13449-SDD-EAS ECF No. 37, PageID.2138 Filed 06/21/21 Page 7 of 9




      Plaintiffs, by and through their undersigned attorneys and in support of their

Motion for Leave to File the attached Notice of Supplemental Authority (attached

hereto at Exhibit 1), rely on the contents of Plaintiffs’ Motion, and the authorities

cited therein.

Dated: June 21, 2021                   Respectfully submitted,

                                       /s/ E. Powell Miller_____
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Case 4:19-cv-13449-SDD-EAS ECF No. 37, PageID.2139 Filed 06/21/21 Page 8 of 9




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                                     Attorneys for Plaintiffs and the
                                     Putative Class




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Case 4:19-cv-13449-SDD-EAS ECF No. 37, PageID.2140 Filed 06/21/21 Page 9 of 9




                          CERTIFICATE OF SERVICE

      I hereby certify that on June 21, 2021, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system which will send

notification of such filing to all attorneys of record.

                                         /s/ E. Powell Miller
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